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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION


 JEFFERSON PAUL,

        Plaintiff,
 vs.                                                  Case No:

 THE UNITED STATES OF AMERICA,

        Defendant.
                                            /

                                          COMPLAINT

        Plaintiff, JEFFERSON PAUL, sues Defendant, THE UNITED STATES OF AMERICA,

 and states the following:

                                 JURISDICTION AND VENUE

        1.      This is a cause of action for damages brought pursuant to and in compliance with

 the Federal Tort Claims Act, 28 U.S.C. §§1346(b) and 2671-2680.

        2.      This Court has subject matter jurisdiction over claims against the United States,

 pursuant to 28 U.S.C. §1346(b).

        3.      28 U.S.C. § 1367 provides, in part, the following: “the district courts shall have

 supplemental jurisdiction over all other claims that are so related to claims in the action within

 such original jurisdiction that they form part of the same case or controversy under Article III of

 the United States Constitution”. 28 U.S.C. § 1367.

        4.      Venue is proper in the United States District Court for the Southern District of

 Florida because all the facts and allegations that form the basis of this complaint occurred in

 Broward County, Florida.
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        5.      At all times material hereto, the United States Postal Service has been a federally

 funded and operated department of the executive branch of the Defendant, THE UNITED

 STATES OF AMERICA.

        6.      28 U.S.C. § 2671 provides, in part, the following: “[a]s used in this chapter and

 sections 1346 (b) and 2401 (b) of this title, the term “federal agency” includes the executive

 departments”. 28 U.S.C. § 2671.

        7.      Plaintiff has fully complied with the provisions of 28 U.S.C. § 2675 of the Federal

 Tort Claims Act. See Standard Form 95 attached as Exhibit A.

        8.      Plaintiff received correspondence from the United States Postal Service stating it

 had six months from April 28, 2021, to adjudicate this claim. See Correspondence attached as

 Exhibit B.

        9.      Plaintiff is now filing this Complaint pursuant to 28 U.S.C. § 2401(b) as six

 months have passed, and Plaintiff has received no further correspondence.

              COUNT I – NEGLIGENCE CLAIM AGAINST THE UNITED STATES OF
                                   AMERICA

        10.      Paragraphs 1 – 9 are incorporated herein.

        11.     On or about November 21, 2019, Plaintiff, JEFFERSON PAUL, occupied a motor

 vehicle traveling near the intersection of Northeast 3rd Avenue and West Sample Road in

 Deerfield Beach, Broward County, Florida.

        12.     At that time and place, Dorise Lanessa Joseph negligently operated or maintained

 a motor vehicle so that it collided with Plaintiff’s motor vehicle.

        13.     At that time and place, Dorise Lanessa Joseph was driving a motor vehicle owned

 by the United States Postal Service.
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        14.     At that time and place, Dorise Lanessa Joseph was operating the motor vehicle in

 the course and scope of her employment with Defendant, THE UNITED STATES OF

 AMERICA.

        15.     Accordingly, Defendant, THE UNITED STATES OF AMERICA, is vicariously

 liable for the negligence of Dorise Lanessa Joseph in the operation of said motor vehicle.

        16.     As the direct and proximate result of the negligence of Dorise Lanessa Joseph,

 Plaintiff, JEFFERSON PAUL, suffered bodily injury and resulting pain and suffering, disability,

 disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of

 hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to earn

 money, and aggravation of a previously existing condition. The losses are either permanent or

 continuing and Plaintiff will suffer the losses in the future.

        WHEREFORE, Plaintiff, JEFFERSON PAUL, demands judgment for damages against

 Defendant, THE UNITED STATES OF AMERICA.

        Plaintiff demands trial by jury on all issues so triable.

        Respectfully submitted this 12 day of April, 2022.


                                        By: s/ Shawn McCloskey ___________________
                                           SHAWN MCCLOSKEY
                                           Attorney Email: smccloskey@schwedlawfirm.com
                                           Eservice Email: eservice@schwedlawfirm.com
                                           Bar Number: 113016
                                           Attorneys for Plaintiff
                                           Schwed, Adams & McGinley, P.A.
                                           7111 Fairway Drive, Suite 105
                                           Palm Beach Gardens, Florida 33418
                                           Telephone: (561) 694-6079
                                           Facsimile: (561) 694-6089
